                  Case 4:22-cr-00428-JSW Document 31 Filed 12/02/22 Page 1 of 1
                                                                                                          filed
                                           United States District Court
                                         NORTHERN DISTRICT OF CALIFORNIA                                 DEC -2 2022
                                                OAKLAND DIVISION


       United States of America,                               CaseNo.


                         Plaintiff,                            STIPULATED ORDER EXCLUDING TIME
                                                               UNDER THE SPEEDY TRIAL ACT

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                         Defenaant(s).

For the reasons stated by the parties on the record on          ^,        ,the court excludes time under the Speedy
Trial Act from ^   »■>
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                                                       ■       and finds that
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continuance outweigh the best interest of the public and the defendant m a speedy trial.          18 U.S.U. §
3161(h)(7)(A). The court makes this finding and bases this continuance on the following factor(s):
              Failure to grant a continuance would be likely to result in a miscarriage of justice.
                See 18 U.S.C. § 3161(h)(7)(B)(i).

                The case is so unusual or so complex, due to [check applicable reasons]          the number of
                defendants,          the nature of the prosecution, or      the existence of novel questions of fact
                or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or the trial
                itself within the time limits established by this section. See 18 U.S.C. § 316I(h)(7)(B)(ii).
                Failure to grant a continuance would deny the defendant reasonable time to obtain counsel,
                taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).
                Failure to grant a continuance would unreasonably deny the defendant continuity of counsel, given
                counsel's other scheduled case commitments, taking into account the exercise of due diligence.
                See 18 U.S.C. § 3161(h)(7)(B)(iv).

         I/'     Failure to grant a continuance would unreasonably deny the defendant the reasonable time
                 necessary for effective preparation, taking into account the exercise of due diligence.
                 See 18 U.S.C. § 3161(h)(7)(B)(iv).

                 With the consent of the defendant, and taking into account the public interest in the prompt
                 disposition of criminal cases, the court sets the preliminary hearing to the date set forth in the first
                 paragraph and — based on the parties' showing of good cause — finds good cause for extending
                 the time limits for a preliminary hearing under Federal Rule of Criminal Procedure 5.1 and for
                 extending the 30-day time period for an indictment under the Speedy Trial Act (based on the
                 exclusions set forth above). See Fed. R. Crim. P. 5.1; 18 U.S.C. § 3161(b).
         IT IS SO ORDERED.

         DATED:
                                                                 KandiV>- Westmore
                                                                 United States Magistrate Judge


         STIPULATED;;
                                      for-djefendant             Assistant United States Attorney


                                                                                                          V. 1/10/2019
